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                         IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

RICHARD MEYER,                                §
     Plaintiff,                               §
                                              §
v.                                            §      CASE NO.: 1:18-CV-00800
                                              §
MARK WAID ,                                   §      (Jury Demanded)
    Defendant.                                §

                             PLAINTIFF’S ORIGINAL COMPLAINT

        Plaintiff Richard Meyer files this Original Complaint seeking damages from Defendant

Mark Waid.

                                     I.     THE PARTIES

        1.       Plaintiff, Richard Meyer, is an individual residing in Williamson County, Texas

and is a citizen of Texas.

        2.       Defendant, Mark Waid, is an individual who may be served at his residence

located at 1127 6th Street #401, Santa Monica, California 90403, or wherever he may be found,

and is a citizen of California.

                              II.   JURISDICTION AND VENUE

        3.       This Court has jurisdiction of these claims and parties pursuant to 28 U.S.C. §

1332, because this is a suit between citizens of different states and the matter in controversy

exceeds $75,000.

        4.       Venue of this civil action is proper in this Court pursuant to 28 U.S.C. §1391,

because a substantial part of the events or omissions giving rise to the claim occurred in this

judicial district.
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                             III.   FACTUAL BACKGROUND

A.     Meyer’s Passion for Superhero Comics

       5.      Richard Meyer is a lifelong fan of comic books. It started with G.I. Joe in the

1980’s. Meyer’s father was in the military, and Meyer looked to G.I. Joe as a military hero.

Meyer later became intrigued with another Marvel comic, X-Men. Like G.I. Joe, X-Men was

about heroes fighting against evil forces, but these heroes were endowed with superpowers due

to genetic mutations. Half of the X-Men were women, and Storm, an African-American woman

who could control the weather, was one of the X-Men’s leaders. Both G.I. Joe and X-Men were

racially diverse teams with women in key leadership roles—even back in the 1980s.

       6.      Meyer continued to read comics, especially Marvel superhero comics, into his

adulthood. In his twenties, Meyer followed in his family’s military tradition and enlisted in the

Marines. During those four years as a Marine, Meyer was deployed to Iraq and attained the rank

of sergeant. After his honorable discharge, Meyer went back to college and completed his studies.

       7.      After college, Meyer joined the military again – this time as an Army sergeant.

Meyer served for another four years and during that time was deployed to both Iraq and, later,

Afghanistan. Meyer continued to read comic books and graphic novels during his years of

service.

B.     Creation of the Diversity & Comics YouTube Channel

       8.      Over the years, Meyer had grown increasingly disappointed with what he

perceived as the declining quality of the comic books being published by the two dominant

industry publishers, Marvel and DC Comics. That decline was accompanied with decreasing

sales of comic books overall. The quality had declined, in Meyer’s eyes, due to the publishers’

hiring of inexperienced writers and editors who did not have credentials consistent with those



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historically recognized within the comics industry. Meyer believed that the stories were poorly

written and increasingly uninteresting, and were becoming overtly politicized. Meyer attributed

this trend, and the accompanying decrease in sales of comics, due to the publishers’ decisions to

ignore their fans’ preferences for superhero comics and replace those comics with new characters

that promoted political ideologies, which Meyer believes dilutes the genre. Moreover, criticism

of the industry by comic book fans was met with hostility, derision, name-calling, and profanity,

from top-level editors and comic book writers and artists.

       9.       In April, 2017, Meyer started a YouTube channel called “Diversity & Comics”

with the intention of providing comparisons of the superhero comics produced by Marvel and DC

Comics in the 1980’s and 1990’s to the comic books that were being produced today. Meyer’s

first video reviewed a 1997 Captain America comic book written by Defendant Mark Waid, where

Meyer praised the drawing, storytelling, action sequences, and plot development. In fact, Meyer

described the book as a classic in the superhero genre.

       10.      Meyer continued posting videos on Diversity & Comics reviewing older superhero

comics as well as current comic books that were being produced. During the following seventeen

months, Meyer published and uploaded over 1300 videos, and his YouTube channel amassed

over 88,000 followers with over 28 million views. Meyer’s criticism of the new, politicized comic

books—his videos clearly resonated with industry followers and consumers—was specific and

often biting, sarcastic, and hyperbolic (although admittedly at times his attempts at sardonic

humor fell flat). Through all of this time, Meyer’s aim was to rescue the comic book industry

from what he saw as its own self-imposed demise through the over-politicization of stories and

dilution of the superhero genre he had grown to love.




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       11.      Although Meyer had many followers, his challenges to the entrenched status quo

within the industry also gathered a very vocal group of detractors, including Waid, who had an

even larger group of online followers. Waid is a highly influential presence in the comics

industry, having spent four decades working in establishment positions with industry leaders

Marvel and DC Comics before becoming a freelance speaker and commentator. Waid currently

works on multiple comic books published by Marvel. During his long career, Waid has written

multiple series that are considered classics in the industry. Waid has thousands of friends

following his Facebook posts, and almost 100,000 Twitter followers. Waid and his followers

were either part of or supported the comic book industry establishment that Meyer routinely

criticized on his channel. Both Waid and his followers were angered by Meyer’s critical account

of their comics and their use of comics to promote political ideology, resulting in sometimes

pointed and public exchanges with Meyer over the validity of his critiques.

       12.      By contrast, while critical of politicization in comics, Meyer himself is not

politically motivated, nor does he hold political views outside of the mainstream—he just believes

that political agendas should not be embedded into comic books, and that doing so is a significant

factor in the demise of the industry. For example, the number of stores specializing in sales of

comic books has dwindled over the past ten years from over 4,300 to about 2,100, and the number

of books sold has dropped approximately 50% between 1997 and the present.. Clearly, the

product being generated by the industry leaders is not appealing to modern audiences in the same

way that Meyer’s treasured superheroes of his youth were embraced. This demise has been

presided over by the two industry giants, DC and Marvel Comics (who dominate with roughly

90% of market share), while similarly 90% of the distribution of books is controlled by a single

entity, Diamond Comic Distributors, Inc. (“Diamond”), which holds an acknowledged monopoly



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over direct comic distribution in this country. Independent artists and producers face significant

hurdles in getting fresh product to the comic book consuming marketplace—without sponsorship

from DC or Marvel and support from Diamond, new voices cannot be heard effectively through

traditional channels.

       13.      Meyer’s aggressive criticism led to unfounded claims by establishment supporters

like Waid that he held a number of socially extreme views which are flatly untrue. By late 2017,

media reports began to emerge characterizing Meyer as a bigot, a racist, and part of a group that

promotes white supremacy. At various times, Waid has described Meyer as a serial harasser of

women and minorities, and claimed that he promotes hate and intolerance. These statements were

intended to discredit Meyer and detract from his vocal calls for fundamental change within the

comic book industry.

C.     JAWBREAKERS Comic Book and Waid’s Interference with Antarctic Press

       14.      One of the criticisms leveled by Waid and others against Meyer has been that he

had only complaints about the emerging low quality product and had no solutions or appreciation

for the difficulty of creating quality work. Meyer decided this point had some validity, and that

he should channel his vision into creation of what a comic book true to what the tradition should

be.

       15.      On April 9, 2018, Meyer publicly announced that he was publishing his own comic

book, JAWBREAKERS–Lost Souls, a story about five ex-superheroes that come out of

retirement to protect a giant, mutant ape from being exploited by a warlord. It was a decidedly

apolitical, straightforward, multi-superhero comic. It is devoid of any bigoted, nationalist, racist,

or gender themes. Meyer had teamed up with top tier artists to illustrate and color the book and

was in discussions with a small, independent San Antonio-based, comic book publisher, Antarctic



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Press, to publish and distribute the comic book. On the same day, Meyer started a crowd-funding

campaign to finance the book. That campaign raised over $50,000 in the first four days and over

$110,000 by the end of April. Clearly the market was looking forward to a fresh voice, and an

alternative to the establishment’s status quo.

       16.      The crowd-funding campaign officially closed on May 9, 2018. By that time,

Meyer and Antarctic Press had agreed on the terms for publishing JAWBREAKERS. They

agreed that Meyer and his team would produce the book and that Antarctic Press would publish

and distribute it. Meyer and Antarctic Press agreed that after paying all costs of production they

would split the profits from sales 50/50. In addition, Antarctic Press agreed conceptually to

publish future comic books written by Meyer, including IRON SIGHTS and later

JAWBREAKER editions.

       17.      That same day, rumors and leaked chat transcripts suggested that certain retailers

aligned with Waid and his followers had agreed not to carry Meyer’s book and to boycott

Antarctic Press because of the misinformation being spread about Meyer and his views.. Initially,

Antarctic Press was not flustered. Instead, Antarctic Press responded, “That just shows me we’re

doing the right thing standing with you.” Later that evening, Antarctic Press publicly announced

on its Twitter page, “It’s official! We’re publishing JAWBREAKERS in September!”

       18.      Less than 36 hours later, Waid tweeted to his followers that he was going to contact

Antarctic Press to interfere with its impending publication of Meyer’s book, saying:

       I have a call in to Antarctic Press. Until I hear back, I’m (hesitantly) willing to give
       them the benefit of the doubt that they don’t really understand who or what they’re
       getting into business with, which – though it would seem a stretch – is a possibility.
       If I do hear back, I’ll report in.

On information and belief, this triggered an onslaught by Waid’s followers against Antarctic

Press, with calls and threats to Antarctic Press and its owners’ other unaffiliated businesses.

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       19.      Later that day, Waid spoke by telephone with one of the owners of Antarctic Press,

and convinced him that Antarctic Press should repudiate its contract with Meyer. Frightened for

its very survival by Waid’s threats, and primarily because of his unwelcome interference,

Antarctic Press caved to Waid’s pressure, and issued the following statement:

       After careful consideration, it is the decision of Antarctic Press to not release the
       comic series Jawbreakers.

       Antarctic Press is a staunch believer in Creator’s Rights and giving creators a
       chance to showcase their creation and allowing that creation to be judged on its
       merits.

       Many forces, many of them should be viewed with great trepidation about our
       society acts, have led us to this decision. We do not take this decision lightly as we
       do believe that there should be separation between “ART” and the “ARTIST” and
       that separation has been blurred in our decision.

Almost immediately following Antarctic Press’s announcement, perhaps having been warned that

his interference was actionable, Waid deactivated all of his theretofore quite active social network

accounts without explanation.

       20.      Following Antarctic Press’s experience, no other publishers would consider

publishing Meyer’s comic book. Meyer’s only option was to self-publish by creating his own

independent publishing company, which he did. At significant expense, and after significant

delay in publication of JAWBREAKERS, Meyer is now performing all of the tasks that Antarctic

Press would have performed in the absence of Waid’s interference with Meyer’s contract. Instead

of pursuing other potential business interests, including writing additional comic books, Meyer is

responsible for overseeing the printing of JAWBREAKERS and arranging to ship copies ordered

online through Meyer’s crowd-funding campaign.

       21.      Meyer’s loss of access to independent publishers due to Waid’s interference is not

limited to increased production costs. As a result of Waid’s actions, Meyer has been effectively



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blackballed by the comic book industry. No publishers, independent or otherwise, are currently

willing to consider working with Meyer on JAWBREAKERS or future projects. Meyer could

not even find a U.S.-based artist for his next book, and has resorted to contracting with one he

located from the Philippines. Access to conventions and convention panels is also linked to being

published by one of the dominant or independent publishers. The lack of access to those markets

has further damaged Meyer and is a direct result of Waid’s interference with Meyer’s contract

with Antarctic Press and false statements.

         22.      In the meantime, Waid has described the events of May 11 in interviews and on

comic convention panels. Waid has falsely stated that Meyer published a list of comic book

stores, with the first and last name of the comic book stores’ employees, in response to the stores’

decision to not carry JAWBREAKERS. In doing so, Waid suggested that Meyer was encouraging

his followers to harass or threaten the comic book stores’ employees. 1 By repeating this false

allegation, Waid further alienated Meyer from comic book stores and fans at large in the industry.

                                       IV.      CAUSES OF ACTION

A.       Tortious Interference with Contract

         23.      Meyer had a contract with Antarctic Press for the publication of his

JAWBREAKERS and other comic books. Waid either had knowledge of the contract or had

knowledge of facts and circumstances that would lead a reasonable person to believe there was a

contract in which Meyer had an interest. Through the actions described above, Waid intentionally

induced Antarctic Press to breach its agreement with Meyer. Waid’s interference proximately

caused injury to Meyer for which he seeks damages in excess of $75,000.




1
        In fact, Meyer had only identified the stores identified in the leaked chat transcript that had agreed not to
carry JAWBREAKERS and the individuals who were part of that conversation.

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B.      Defamation

        24.      Through his various social media accounts, Waid intentionally published

statements of fact to his followers and the general public regarding Meyer, including falsely

stating that Meyer published the first and last names of comic book store employees to encourage

his followers to harass and threaten them, as well as characterizing Meyer as a racist, serial

harasser of minorities, and as affiliated with white supremacists. Those statements were false and

were published with actual knowledge of, or reckless disregard for the statements’ falsity.

B.      Exemplary Damages

        25.      Moreover, Meyer’s injuries were the result of Waid’s malicious acts. Waid acted

with the specific intent to cause substantial injury or harm to Meyer when he interfered with

Meyer’s contractual relations and defamed Meyer. Because Waid acted with malice, Meyer is

entitled to exemplary damages under TEX. CIV. PRAC. & REM. CODE § 41.003(a)(2).

        26.      Alternatively, Waid had actual, subjective awareness of the risk of harm to Meyer

but proceeded nonetheless to defame Meyer and to interfere with Meyer’s contractual relations

with conscious indifference to Meyer’s rights, safety, or welfare. Likewise, when viewed

objectively from Waid’s perspective, Waid’s actions involved an extreme degree of risk,

considering the probability and magnitude of the potential harm to Meyer. As a result, Meyer is

entitled to an award of exemplary damages as a result of Waid’s grossly negligent conduct

pursuant to TEX. CIV. PRAC. & REM. CODE § 41.003(a)(3).

                                     V.     JURY DEMAND

        27.      Pursuant to FED. R. CIV. P. 38, Meyer demands a jury trial on all issues that may

be tried to a jury.




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                          VI.    RELIEF REQUESTED AND PRAYER

       28.        Based on the foregoing, Meyer requests the following relief:

             a.      actual damages of over $75,000;

             b.      special damages in the form of lost profits proximately caused by Waid’s
                     interference with Meyer’s contractual relations;

             c.      exemplary damages;

             d.      costs of court; and

             e.      all other relief to which Plaintiff Richard Meyer shows himself to be justly
                     entitled.

       WHEREFORE, Plaintiff Richard Meyer respectfully requests that the Court enter

judgment awarding the relief requested above against Defendant Chris Waid.

                                               Respectfully submitted,

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